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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION

JOHNOTHAN FIELDS #74421,                     CIVIL DOCKET NO. 1:21-CV-02440-P
Plaintiff

VERSUS                                       JUDGE DAVID C. JOSEPH

12TH JUDICIAL DISTRICT, ET AL                MAGISTRATE JUDGE JOSEPH H.L.
Defendants                                   PEREZ-MONTES

                                   JUDGMENT

       For the reasons contained in the REPORT         AND   RECOMMENDATION of the

Magistrate Judge previously filed herein [ECF No. 8], noting the absence of objections

thereto, and concurring with the Magistrate Judge’s findings under the applicable

law;

       IT IS HEREBY ORDERED that Plaintiff’s civil rights Complaint [ECF No. 1]

is DENIED and DISMISSED WITH PREJUDICE under 28 U.S.C. §§ 1915 and

1915A.

       The Clerk of Court is instructed to send a copy of this Judgment to the keeper

of the three strikes list in Tyler, Texas.

       THUS, DONE AND SIGNED in Chambers on this 12th day of October 2021.




                                              DAVID C. JOSEPH
                                              UNITED STATES DISTRICT JUDGE
